 

Case 1:O7-cV-00230-I\/|BC Document 1 Filed 08/29/07 Page 1 of 13 jj

o
go mfg

UNITED S'I`ATES DlSTRICT COURT
WESTERN DISTRIC'[` OF PENNSYLVANIA

CATHY JORITZ
501 Jefferson
Edinboro, PA, 16412-2018

Plaintiff
v.
EDINBORO UNIVERSITY OF
PENNSYLVANIA
219 Meadville Street
Edinboro, PA, 16444

Defendant

 

 

ERIE, PENNSYLVANIA

CAsE No: U?c;p w [/V\L

JUDGE; _
,,' .'“' §§
MAGISTW_P;JUD§E;
iia j
CoMPLAliiiT

(Demand For Jury Trial Endorsed
Hereon)

Plaintiff Pro Se, CATHY JORlTZ, states for her Complaint the following::

INTRODUCTION

This is a legal action by an individual person against a public university for multiple

violations of Title VII of the Civi1 Rights Act of 1964 as codified under 42 U.S.C. § 2000e, et

seq., and state common law breach-of-contract theories Plaintiff was employed by Defendant

Edinboro Universit'y as a tenure-track professor in the university’s Art Department/animation

scction, known as the “Cinema./Anirnation Area”, beginning in 2003. As a tenure-track professor

Plaintit`f` s contract presumed contract renewal absent some cause to the contrary. Shortly after

beginning her employment Plaintiff noted a distinctly pro-male bias on the port of her all-male

peer group in the Anirnation Area. Within Weeks Plaintific encountered numerous instances of

 

Case 1:O7-cV-00230-I\/|BC Document 1 Filed 08/29/07 Page 2 of 13

grossly offensive, sexually based material in the public areas of the animation classrooms,
computers, and drawn on the wooden light tables in the animation area
Plaintiff brought the offensive material to the attention of her peers as Well as the

university administration Little was done to remedy the situation Her departmental superiors
and peers began to retaliate against her, denying her access to opportunities and duties
commensurate With her position and vital to her ability to compete for tenure; slandering her and
demeaning her to her peers and to entire student classes alike; excluding her from participating in
key departmental timetions and dccisions; failing/refusing to investigate her substantive
complaints in violation of her employment contract; manufacturing allegations of errors and/or
policy violations and publicly reprimandng her without giving her the opportunity to address the
allegations; assigning/reassi going her duties to new, non-tenure-track hires junior to her; creating
the impression that she is incompetent and/or difficult to deal with - both for faculty and students
alike; evaluating her performance on contractually impermissible factors and thon, under these
pretexts, terminating her employment based upon those evaluation criteria

PARTIES
l. Plaintiff Cathy Joritz (“Joritz”) is an individual Woman and a member of the protected
class of females, and Was at all times material to this case a tenure-track professor employed by
Defendant Edinboro University of Pennsylvania.
2. Defendant Edinboro University ol`Pennsylvania (“Edinboro"’) is a public university
operating and situated in the State of Pennsylvania.

CLAIMS

3. Based upon the facts stated herein, Plaintif`f asserts the following claims:

m
Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 3 of 13

A. Count 1 - 'I`itle 42 United States Code § 2000e-2 Title Vll Sex Discrimination -

for Defendant’s wrongful creation and maintenance of a pro-male, ami-female working
environment that treated Plaintiff, a woman, Worse than similarly situated male
employees
B. Count ll - Title 42 United Statcs Code 5 2000e-2 Title Vll Sexual Harassment -
for Defendant’s wrongful creation and maintenance of, and/or acquiescence to, an
atmosphere of sexual harassment or hostility so severe or pervasive to alter the conditions
of the Plaintiff` s employment and create an abusive working environment
C. Count I[l - Title 42 United States Code § 2000e-3 - Unlawful Retaliation _ for
Defendant’s discrimination against Plaintiff because she opposed illegal practices and
complained about unlawful sex-based employment discrimination and sexual harassment
D. Count IV - Title 42 United States Cod_e § 2000e-2 - Sex Stereotyping - for
Defendant’s discrimination against Plaintiff because she failed to meet Defendant’s sex
stereotypes for women.
E. Count V - Pennsylvania Ohio Common Law Breaeh of Contract - for
Defendant’s breach of its employment contract with Plaintiff by evaluating Plaintiff`s job
performance on criteria outside the scope of Plaintiff’ s employment contract and
terminating her employment on that basis_
JURISDICTION
4. This Court has original jurisdiction over Counts l - IV of this action under 28 USC §
1343;and

5. This Court has pendent jurisdiction over Count V of this action under 28 USC § 1367

 

m
` Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 4 of 13

STATEMENT OF FACTS

 

6. Plaintiff was employed Defendant Edinboro University as a tenure-track professor in the
university’s animation section, known as the “Cinerna/Animation Area", beginning in 2003.

7. As a tenure-track professor Plaintiff’s contract presumed contract renewal absent some
cause to the contrary.

8. Shortly after beginning her employment Plaintiff noted a distinctly pro-male bias on the
part of her all-male peer group in the Cinema!Animation Area.

9. Within weeks Plaintiff encountered numerous instances of grossly offensive, sexually
based material in the public areas of the animation classrooms, computers, and drawn on or
wooden light tables in the animation area.

10. Not only was most of the material grossly pornographic, it also tended to denigrate
women in general Plaintiff brought the offensive material to the attention of her superiors and
peers, who either ignored her1 trivialized the offensiveness of the material

l l. Plaintiff met with the university’s Women’s Studies Committee to discuss the matter.
The committee warned her that while her complaints are justified, She may face recriminations by
her colleagues for them. Several members of the committee expressed their concern about faculty
members mistreating female students by buying them drinks at local bars and behaving in a
predatory fashion.

12. '1`he committee resolved to begin working on a brochure on sexual harassment for
distribution by the end of the spring semester. The committee also included a detailed synopsis
both of Plaintiff’ s complaints and of the discussion in response in its meeting minutes, which it
emailed to 52 recipients across the campus ~ including the dean of the liberal arts, who was
ultimately responsible for the Cinema/Animation Area.

4

 

 

_
` Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 5 of 13

13. Plaintiff discussed the matter with her immediate supervisor, Art Departm ent Chair
Professor Mathie, a male, two weeks later. He said he could not understand why Plaintiff did not
approach either her colleagues or him with the problem first.

14. Plaintiff explained that Professors Dunlap and Genz laughed about taking students to
inappropriate/misogynist/soft porn animations. Despite Plaintift’s best attempts to explain the
problem to Mathie he seemed unable or unwilling to understand why Plaintiff, as a woman,
would initially approach other women with this sensitive issue before going to any males -
especially the se who were actively fostering and promoting the offensive material in the first
placc.

15. Mathie trivialized the other professors’ involvement, saying students are exposed to this
kind of stuff all the time and that if and when it pops up, Plaintiff should use the subject matter as
a point of discussion in class.

16. Either at or before her meeting with Mathie Plaintiff provided him with a videotape copy
of offensive pornographic material

17. Shortly after her meeting with Mathie Plaintiff discovered that someone had drawn and
hung a caricature of her in the animation studio. The caricatu:re depicted Plaintiff as a huge,
muscular, threatening witch hovering over a tiny terrified male student The speech balloon

coming from the student’s mouth read: “But J im (one of the other animation professors) laughed

 

at my dirty doodles!” The caricature belittled Plaintiff’s attempt to have the rampant
pornography curtailed and ridiculed her.
18. The university failed to keep the details of Plaintiff’s complaints about the pornographic

and demeaning images/material confidential, and soon she became the subject of ridicule and

was stigmatized

 

 

F__
Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 6 of 13

19. Plaintit"t"s supervisor also rebuked Plaintiff in front on another professor who was one of
her peers, accusing her of having “ruined the reputation of the [Animation] Area.” Another peer
likewise makes the same exact, verbatim accusation against Plaintiff at approximately the same
time and again in Plaintiff’ s last semester there.
20. Plaintiff’s supervisor and peers began to retaliate against Plaintiff for her actions in
complaining about the ongoing pornography and sexism in the Cinema/Animation area. Such
retaliation included but was not limited to, for example:
A. Excluding Plainti ff from professional educational opportunities; opportunities to
participate in activities upon which her performance would be evaluated; and
opportunities to meet other professional colleagues in the state educational system;
B. lllegally excluding Plaintiff from duties and responsibilities while giving them to
a newly hired non-tenure-traek professor, thereby denying Plaintiff the opportunity to
demonstrate the skills and job performance necessary for her to achieve tenure;
C_ illegally denying Plaintiff participation in voting on personnel decisions while
permitting male tenure-track employees to do so.
D. lllegally voting to exclude Plaintiff from participating in selecting the film entries

for the Animation Area’s Annual Spring Student Show v the most important animation

 

event of the year _ because she voiced her opposition to some issues in the past;

E. Lodging trivial or unsubstantiated complaints against Plaintiff as a group;
F. Soliciting complaints against Plaintiff from other faculty and/or students;
G. Publicly reprimanding Plaintiff for exercising her ri ght, as a tenure-track

professor, to speak directly with the dean, and implying to others that she had acted

improperly and in violation of university procedures and protocols;

6

 

 

 

w___

Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 7 of 13

H. Evaluating Plaintiff for retention based upon factors that are, by contract, not part
of the retention criteria;

l. Including anonymous intemct “student” remarks about Plaintiff in Plaintiff’ s
personnel file, in violation of Plaintiff’ s employment oontract, and basing retention
decisions in part on such evaluations;

J. lncluding a student complaint about Plaintiff in Plaintifi"s personnel file without
informing Plaintiff or providing her with the opportunity to rebut or address complaint,
then basing retention decisions in part on “student complaints”;

K. Scheduling and holding important Cinema/Animation meetings without giving
Plaintiff any or adequate advance notice;

L. Refusing/failing to take and provide minutes of departmental meetings, thereby
denying Plaintiffa record of their illegal activities;

M. Summarily denying Plaintiff access to teaching tools and resources, such as
computers and computer programs, thereby impeding her ability to teach high quality
classes and negatively impacting her student evaluations;

N. Summarily and without warning locking Plaintiff out of a computer necessary to

teach a course thereby impeding her ability to teach high quality classes and negatively

 

impacting her student evaluations;

O. Summarily exchanging Plaintiff" s classes With those of another professor, thereby
disappointing students who enrolled in the classes and negatively impacting Plaintiff`s
student evaluation;

P. Revealing details (both true and manufactured/misleading) to students of

Plaintiff’s opposition, expressed during a tenure-track staff meeting, not to change the

7

 

 

non-___-

Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 8 of 13

employment status of one of her male tormentors from non-tenure-track to tenure-track,
thereby prompting some students to protest by wearing t-shirts and hanging signs with
messages supporting the male professor in question;
Q. Denying Plaintiff s request at a faculty meeting for a three-day delay, in voting on
the makeup of a faculty search committee, for Plaintiff to locate another woman to
participate as a search committee member, and ridiculing Plaintiff for making the request;
R. Excluding Plaintiff from information regarding pl ans, events, teaching schedules,
etc., being decided upon by her fellow department members
S. Fabricating reports of complaints allegedly made against Plaintiff by other faculty
and students and refusing to provide substantiation; and
T. Revealing and misrepresenting to a male faculty member that Plaintiff, who gave
qualified support of his hiring, did not support it, thereby alienating the new faculty
against her.
15. When Plaintiff complained in writing about the unethical and discriminatory acts
committed against her by a male, non-tenure-track professor who substituted for her while she

was on sick leave, the university minimized the matter and failed to take any aetion.

 

16. As a result the men in Plaintist department became bolder and more secure in the
knowledge that their discriminatory actions against plaintiff would not be punished.

l?. Plaintiff ultimately met with Dean Terry Smith to discuss various problems emanating
from her peers’ hostility and/or lack of respect for women in general, and Plaintiff in particular.
Plaintiff especially wanted to discuss the fact that her colleagues were complaining about her in
an organized and unjustified manner. She expressed great concern that her colleagues’

complaints will negatively affect her impending performance evaluations Smith assured Plaintiff

8

 

 

F__

Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 9 of 13

that getting along with her colleagues is not part of the criteria for retention According to Smith,
teaching effectiveness, continued growth and service to the university and community were the
three factors considered for retention. These 3 factors are outlined in Plaintiff’s employment
contract and emphasized to faculty members

18. Ultimately Plaintiff’s contract (which, as it involves a tenure-track professor, presumes
renewal) was not renewed The primary basis cited was Plaintiff"s alleged inability to get along
with her peers and/or follow university procedures

19. Plaintiff timely filed a Charge of Discrimination with the U.S. Equal Employment
Opportunity Commission

2(1. The Commission issues Plaintiff her Notice of Right to Sue dated April 20, 2007, while
Plaintiff was in Germany.

21. Although Plaintiff understood from her telephone and/ or email correspondence with the
EEOC that the Notice had been issued, she never received it. Plaintiff ultimately requested that
the Notice be sent to her attomey, Randi A. Barnabee, as her duly authorized legal representative
22. On May 31, 2007, the EEOC faxed the Notice of Right to Sue to Plaintiff" s attorney per

her request

 

23. Plaintiff’s 9U-day period to file her Title VII and related claims expires at midnight on
August 29, 2007, and is therefore timely filed.

Count l - Title 42 United States Code § 2000e-2, et seg., Title VII Sex Discrimination
24. Plaintiff repeats the allegations contained in Paragraphs 1-23 of this Complaint and
incorporates them herein.
25. Plaintiff is a “person“ within the meaning of Titlc VII.

26. Defendant is a “person” and an “employer” within the meaning of Title Vll.

9

 

 

w_

Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 10 of 13

27. Defendant wrongfully created, maintained, and perpetuated a pro-male, ami-female
working environment that treated Plaintiff, a woman, worse than similarly situated male
employees

28. As a result of Defendant’s actions Plaintiff was wrongfully terminated ti'om her
employment through contract non-renewal

Title VII Sexual Harassment

       

Count II - Title 42 United States Code 200 e-2 et se .
29. Plaintiff repeats the allegations contained in Paragraphs 1-28 of this Complaint and
incorporates them herein.

30. Defendant wrongfully created, maintained, perpetuated, and/or acquiescence to, an
atmosphere of sexual harassment or hostility so severe or pervasive to alter the conditions of the
Plaintiff’s employment and create an abusive working environment

31. As a result of Defendant’s actions Plaintiff was wrongfully terminated from her
employment through contract non-renewal

Count 111 - 'I`itle 42 United States Code § 2000e-3, et seg., Unlawful Retaligtion

32. Plaintiff repeats the allegations contained in Paragraphs 1-31 of this Complaint and

incorporates them herein.

 

33. Defendant discriminated against Plaintiff because she opposed illegal practices and
complained about unlawful sex-based employment discrimination and sexual harassment
34. As a result ofDefendant’s actions Plaintiff was wrongfully terminated from her

employment through contract non-renewal

     

Count IV - Title 42 United States Code 2000e-2 et se . Sex Stereo
35. Plaintiff repeats the allegations contained in Paragraphs 1-34 of this Complaint and

incorporates them herein.

10

 

 

___

Case 1:O7-cV-00230-I\/|BC Document 1 Filed 08/29/07 Page 11 of 13

36. Defendant discriminated against Plaintiff because she failed to meet Defendant’s sex
stereotypes for women, namely, she failed to act deferentially toward her male colleagues; she
failed to act demurcly toward her male colleagues; in departmental meetings Plaintiff vocalized
her opinions and voted the way she thought best without regard either for the way her male
colleagues voted or for the agenda they declared or implied.
37. As a result of Defendant’s actions Plaintiff was wrongfully terminated from her
employment through contract non-renewal

Count V - Pennsylvania Ohio Common Law Breaeh of Contract
38. Plaintiff repeats the allegations contained in Paragraphs 1-37 of this Complaint and
incorporates them herein.
39. Defendant and Plaintiff entered into an employment contract through a collective
bargaining process.
40. Under the terms of the contract certain criteria were established as the basis for evaluating
plaintiffs job performance
41 . Under the contract Defendant agreed to investigate complaints within a reasonable time.

42. Plaintiff was impermissibly evaluated upon criteria outside the scope designated in her

 

employment contract with Defendant, in breach of said contract.
43_ Defendant failed to investigate Plaintiff’ 5 substantive complaints within a reasonable
time, even when the bases for said complaints were corroborated by other entities
44. As a result of Defendant's breach of contract Plaintiff was wrongfully terminated from
her employment through contract non-renewal.

CONCLUSION

Plaintiff encountered grossly offensive pornography and other crude forms of sexual

ll

 

*__~

Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 12 of 13

expression creating a hostile work environment shortly alter she began working for Defendant as
a tenure-track professor When Plaintiff brought the offensive conduct to the attention of
Defendant she was not taken seriously by her all-male peer group, who trivialized her
complaints, berated her for allegedly “ruining the reputation of the [Cinema/Animation] Area,”
and gauged up on her so as to strip away all of her rights, responsibilities, and opportunities due
her. Plaintiff’s male colleagues further conducted a campaign of complaints to Plaintiff`s
immediate superior, who, in response, invariably acted swiftly against Plaintiff without giving
her any semblance of a hearing on the matters Plaintii`f’s immediate supervisor failed, however
to take any action in response to Plaintiff’ s many complaints of discrimination by her male
colleagues
Defendants resented Plaintiff and discriminated against herz
A. Because she was a woman who had entered into what had historically been
an all-male department

B. Beeausc she failed to act in the subservient and deferential way they

 

expected women to act in their interaction with the men',
C. Because she was a woman who failed to agree with the decisions and
opi9nions of her male colleagues all of the time; and
D. By creating and maintaining a grossly offensive sexually based working
environment and then retaliating against her when she opposed the vulgar and offensive
pornography such environment enabled and fostered.
Defendants also breached their employment contract with Plaintiff in the course of their

prolonged and widespread discrimination against her.

12

 

 

F___

Case 1:O7-cV-0023O-I\/|BC Document 1 Filed 08/29/07 Page 13 of 13

JURY TRIAL DEMAND
WHEREFORE, Plaintiff Pro Se, Cathy ]oritz, respectfully asks this Court to:
A] Award Plaintiff actual money damages, compensatory damages, and
punitive damages in an amount to be determined upon trial;
B) Award Plaintiff attorneys’ fees and costs; and

C] Order such other appropriate relief as the interests of justice may

 

 

require.
Respectfully submitted,
MF,UWJiF/»
Cathy Joritz
Plaintiff Pm Se
219 Meadville Street

Edinboro, PA, 16444
814-734-1464

 

